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                         IN THE UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,                        )
                                                 )
                       Plaintiff,                )                  8:05CR106
                                                 )
         v.                                      )   REPORT AND RECOMMENDATION
                                                 )               AND
MARIANO CORDERO-JUAREZ,                          )             ORDER
                                                 )
                       Defendant.                )


         At the conclusion of the hearing on May 23, 2005, on the defendant’s motion to dismiss
(Filing No. 49), I stated my conclusions on the record and my decision to recommend that the
motion to dismiss be granted. I found by a preponderance of the evidence that the defendant
was a juvenile at the time of the offense set forth in the Indictment. In accordance with that
announcement,


         IT IS RECOMMENDED to Chief Judge Joseph F. Bataillon that Cordero-Juarez’s motion
to dismiss, Filing No. 49, be granted.


         FURTHER, IT IS ORDERED:
         1.     The clerk shall cause an expedited transcript of the hearing to be prepared and
filed.
         2.     Pursuant to NECrimR 57.3 any objection to this Report and Recommendation
shall be filed with the Clerk of the Court within ten (10) days after the transcript is available to
counsel for reading in the clerk’s office. Failure to timely object may constitute a waiver of any
such objection. The brief in support of any objection shall be filed at the time of filing such
objection. Failure to file a brief in support of any objection may be deemed an abandonment
of the objection.
         Dated this 23rd day of May, 2005.
                                              BY THE COURT:
                                              s/ Thomas D. Thalken
                                              United States Magistrate Judge
